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                                    May 3, 2022
Judge Susan Richard Nelson              Via ECF
U.S. District Court Judge
United States District Court
316 North Robert Street
St. Paul, MN 55101

      Re:    Jacobson v. County of Chisago and Richard Duncan et al.
             Civil File No. 18-CV-2528 SRN/HB

Dear Judge Nelson:
      On April 29, 2022, counsel for Defendant County of Chisago filed its
Response to Plaintiff’s Fee Petition. We will be arguing a number of post-trial
motions on May 19, 2022, and in the interest of saving time at oral agrument, given
the number of issues raised by Defendant, Plaintiff respectfully requests that she be
allowed to file a reply brief. If the Court allows the additional briefing, Plaintiff
would propose filing her reply brief on May 12, 2022. Thank you for your
consideration.

                                         Sincerely,

                                        s/Leslie L. Lienemann

                                        Leslie L. Lienemann
